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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

JOSE ORLANDO GARCIA-DURAN,              )



                                        )



      Movant,                           )



                                        )



V.                                      )    Case No. CV412-221
                                        )              CR41O-100
UNITED STATES OF AMERICA,               )



                                        )



      Respondent.                       )




                                     ORDER

      Jose Orlando Garcia-Duran moves for 28 U.S.C. § 2255 relief.

CR410-10, doc. 220.' He was convicted of stowing away in a vessel, 18

U.S.C. § 2199, illegal reentry into the United States, 8 U.S.C. § 1326(a),

importing controlled substances, 21 U.S.C. H 960 1 952, 851, possessing

controlled substances with intent to distribute, id. H 851, 841(a)(1), and

smuggling goods into the United States, 18 U.S.C. § 545. Doc. 175 at 1-2.

On his unsuccessful appeal, he argued that (1) the district court abused its

discretion by refusing to give a requested "duress" jury instruction, and


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 The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper document's printed pagination.
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    (2) there was a discrepancy in the oral and written judgments regarding

the payment of his fine.      United States v. Garcia-Duran, 453 F. App'x 950,

950 (11th Cir. 2012); doe. 216.

         In the instant § 2255 motion he alleges that his CJA-appointed

attorney, Robert N. Nye, HI, ineffectively assisted' him by incompetently

advising him about the government's plea offer. Nye, he claims,

presented this offer:

      [P]lead guilty to two counts of the indictment Count 2 (Illegal
      Reentry) Count 4 (Importation of a Controlled Substance) of the
      original indictment.    .:.. The plea agreement would have left
      sentencing up to the diScretion of the Court, which discretion would
      have been constrained only by the ten year mandatory minimum
      sentence (which was 10 years less than the minimum sentence
      applicable at trial[)].

Doe. 221 at 6. But, Duran insists, Nye failed to warn him that if he did not

take that deal, the government would file a 21 U.S.C. § 851 Information to


2
  For ineffective assistance of counsel to provide a basis for federal habeas relief,
movant must satisfy the two-part test from Strickland v. Washington, 466 U.S. 668,
687 (1984). First, he must shoe that his counsel's performance was deficient and that
it prejudiced his defense. Id. To show prejudice, movant need only demonstrate a
reasonable probability that the result of the proceeding would have been different
absent the error. Id. at 694. Areasonable probability in this context is "a probability
sufficient to undermine confidience in the outcome." Id. Duran thus must establish
both deficient performance and prejudice in order to establish ineffective assistance of
counsel. Id. at 687. "Surmounting Strickland 's high bar is never an easy task."
Padilla v. Kentucky, U.S. , 130 S. Ct. 1473, 1485 (2010),


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enhance his mandatory minimum sentence from 10 to 20 years. Doe. 221

at 5. "Had [Duran] been informed that his Mandatory minimum would

double because of the [] 851 enhancement that he was not informed of,"

Duran says, "he would have certainly accepted [that] plea [offer]." Doe.

227 at 2. Nye swears he warned Duran of the § 851 consequence. Doe.

225-1 at 3 ¶ 6. Duran also says Nye was ineffective for failing to raise two

issues on appeal    .   3




ANALYSIS

       On the plea-offer issue Duran relies upon Missouri v. Frye, - U.S.

      132 S. Ct. 1399 (2012), which involved a failure to communicate a


   Here Duran faults Nye for failing to raise a claimed Brady violation on appeal. Doc.
220 at 5; doc. 221 at 7-11. The government insists this claim is baseless because the
statement on which Duran reies did not even exist until over six months after his
trial. Doc. 225 at 21-27. It argtes the same about Duran's claim that the Government
violated various rights by allowing a co-defendant to testify about untruths. Doe. 220
at 7-9; doe. 221 at 13-14; doe. 225 at 27-28. The Court will defer ruling on these claims
because of the mootness possibility discussed below.

  Frye held that defense counel has the duty to communicate formal offers from the
prosecution to accept a plea on terms that may be favorable to the accused, prior to the
offer's expiration; counsel's failure to do that satisfies the deficient performance prong
of the Strickland standard. 132 S.Ct. at 1409. To show prejudice from ineffective
assistance of counsel where a plea offer has lapsed or been rejected because of counsel's
deficient performance, a defendant must demonstrate a reasonable probability that:
(a) he would have accepted the earlier plea offer had he been afforded effective
assistance of counsel; and (b) the plea would have been entered without the
prosecution canceling it or the trial court refusing to accept it, if they had the
authority to exercise that discretion under state law. Id.

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plea offer for a lower sentnce than the defendant actually received when

he later pled guilty, plus its companion case, Lafler v. Cooper, - U.S. -,

    132 S. Ct. 1376 (2012), which applied the Sixth Amendment right to

effective assistance of counsel to the plea-bargaining context. Id. at 1390;

see also In re Perez, 682 F.3d 930, 932 (11th Cir. 2012); Morrison v. United

States, 2012 WL 4711863 at * 2 (S.D. Ala. Oct. 3, 2012).

        Garcia-Duran issued on January 31, 2012 and its mandate was

entered on March 3, 2012. Doc. 216. The government does not argue that

Lafler and Frye -- decided on March 21, 2012 -- are non-retroactive.' And,

it concedes that the testimonial conflict over what Nye advised justifies an

evidentiary hearing, though it suggests Duran may not be able to show

prejudice.' Doc. 225 at 20


   See Perez, 682 F.3d at 932. (Frye did not create a new constitutional right to be
applied retroactively to cases on collateral review; it merely applied to defense
counsel's obligation to competently advise a defendant of a plea offer); Ortiz v. United
States, 2012 WL 5438938 at * 2 (E.D.N.Y. Nov. 7, 2012) (collecting non-retroactivity
cases); cf. Berry v. United States, - F. Supp. 2d -, 2012 WL 3329622 at * 7 (E.D. Va.
Jul. 29, 2012) (Frye announced a new constitutional rule, but it is not retroactively
applicable to cases on collateral review). For statute of limitations purposes, Duran
had another 90 days before his conviction became final. See Warren v. United States,
2012 WL 5931673 at * 1 (S.D. Fla. Oct. 23, 2012).

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  See, e.g., State v. Martinez, 291 Ga. 455, 456 (2012) (applying Strickland standard in
concluding that defendant could not show the required prejudice, regardless of plea
counsel's prior erroneous advice, because the trial court correctly informed the

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      In his reply brief Duran moves for appointment of counsel to

represent him at that hearing. Doc. 227 at 2-3. Pursuant to 28 U.S.C. §

2255 Rule 8(c), 7 the motion is GRANTED. Under the Strickland

standards set forth above in note 2, Duran has pleaded a claim that, if

supported, could entitle him to the relief he seeks (vacate his conviction,

compel the government to re-offer its plea bargain, doc. 220 at 13), thus

mooting the other issues noted supra, n. 3. The Deputy Clerk shall

arrange for the appointment of counsel and an evidentiary hearing.

      SO ORDERED this                  day of January, 2013.




                                       'UNiTEt(STATES            JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




defendant of the immigration consequences of his guilty plea to aggravated battery).

  This is required where the møvant, as does Duran here, qualifies for appointment of
counsel under 18 U.S.C. § 3003A -- he qualified for appointed counsel at the inception
of this case. See Nguyen v. United States, 2012 WL 3535743 at * 1 (11th cir. Aug. 16,
2012) (directing district court to appoint counsel for § 2255 movant, then resolve
ineffective-assistance claim during required evidentiary hearing).

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